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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

In re                                                   Case No.: 18-19441-BKC-EPK

160 ROYAL PALM, LLC,                                    Chapter 11

        Debtor.                                    /


SECURED CREDITOR KK-PB FINANCIAL, LLC’S RESPONSE IN OPPOSITION
 TO THE DEBTOR’S MOTION TO LIMIT CREDIT BIDS WITH RESPECT TO
      SALE OF SUBSTANTIALLY ALL OF ITS ASSETS [ECF NO. 103]

        Secured Creditor, KK-PB Financial, LLC (“KK-PB Financial”), pursuant to this
Court’s Order dated October 10, 2018 [ECF No. 134], submits this response in opposition to
the Motion to Limit Credit Bids with Respect to Sale of Substantially all of its Assets [ECF No.
103], filed by Debtor 160 Royal Palm, LLC (“Debtor”), and states:

                              PRELIMINARY STATEMENT
        1.      In 2013, Glenn Straub sold the property he owned at 160 Royal Palm Way, LLC,
to Palm House, LLC for $36 million, with seller financing. About 20% of the purchase price was
paid at the closing, and Straub – through his wholly owned limited liability company, KK-PB
Financial – took back the balance as a $27.5 million mortgage. In every respect, the sale was a
common Florida land deal.
        2.      As it happened, the owners of Palm House, thereafter, appear to have
committed a number of allegedly fraudulent and criminal acts. Certainly, Straub and KK-PB
Financial became one of their victims, as the buyer’s attorney failed to record the mortgage for
7 months, buyer stopped making payments on the mortgage, and siphoned off for their own
purposes the $723,000 Straub had placed into an escrow fund to pay off city fines. KK-PB
Financial initiated a foreclosure lawsuit that Debtors dragged out for four years.
        3.      Picking up where these criminals left off, the Debtor is now seeking to sell the
mortgaged property without KK-PB Financial’s consent for far less than the secured claims
against it. Worse, as part of this effort, Debtor has abandoned relevant factual evidence and
law, and opted instead to attack Straub personally, with rumor and gossip that would be well-
suited to TMZ.com, but does not address, much less satisfy the critical legal issues.
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        4.      In its credit bid motion, the Debtor pulls out all the stops on this character-
assassination strategy. But looking past that thicket of unethical rubbish, the Court will clearly
see that Debtor fails to set forth cause to limit KK-PB Financial’s credit bid. To the contrary,
failure to allow KK-PB Financial to be an active bidder will merely ensure that a multi-billion
dollar real estate player – the Related Group – walks away with the property with a lowball offer.
        5.      Below,    KK-PB     Financial addresses the        Debtor’s relevant      claims,
demonstrating that no cause exists to limit its credit bid.


                                FACTUAL BACKGROUND
I.      STRAUB’S SALE OF REAL ESTATE TO PALM HOUSE, LLC
        6.      The disputed transaction here was nothing more than a run-of-the-mill Florida
dirt deal. Far from the complicated machinations of Lyondell, Nabisco, and other famed
leveraged buyouts, the transaction was simply the sale of real estate, using a long-recognized
mechanism to transfer real estate while attempting to minimize transfer taxes – instead of a
deed, the real property was transferred by the assignment of the 100% membership interest in
an llc whose only asset is the real property.
        7.      Each of the transaction documents demonstrates this was a real estate
transaction, beyond any possible “bona fide dispute.” For example, the central document in
this transaction – the August 15, 2013 “AS IS” Agreement for Purchase and Sale – is a typical
contract for the sale and purchase of Florida real estate in every respect.
        8.      The Agreement, attached to the Affidavit of Glenn Straub as Exhibit A, plainly
states that the “property” being sold is real estate:




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             9.       In fact, the Agreement defines “Property” as “the Real Property and the
    Appurtenant Property which shall be deemed to include furniture, desks, and computers[.]”
    And the balance of the Agreement is all real estate nitty-gritty, providing for transfer by
    Warranty Deed, title insurance, prorations, surveys, condemnation, and paying a real estate
    broker commission.
             10.      This real estate deal also required seller financing, so the Agreement also sets
    forth a Financing section, Sec. 28, which provides that the seller will agree to finance the
    Property and take back a mortgage. That financing is the reason why KK-PB Financial holds a
    mortgage on the property and is a secured lender in this case.
             11.      Two weeks after the Agreement was entered into by the parties, the buyer
    suggested adding the option of transferring the property by assignment of the membership
    interest, so as to minimize transfer taxes. As a result, the parties entered into the First
    Amendment to “As Is” Agreement for Purchase and Sale. There, the parties agreed that the buyer
    would have the option (but not the obligation) to purchase the Membership Interest in the
    Debtor, rather than taking the fee interest. See Section 3.
    II.      FACTUAL CONTENTIONS WITHOUT EVIDENTIARY SUPPORT
             12.      Looking past Debtor’s irrelevant character assassination efforts, there are just
    a handful of facts that are truly relevant to the legal issues that arise under Bankruptcy Code
    Sections 363(k) and 363(f)(4). As to those facts, the Debtor repeats allegations it knows are
    false, or makes allegations without any evidentiary basis. Set forth in the chart below are the
    only relevant factual grounds, with specific analysis as to each:

                  ALLEGATIONS

With respect to KK-PB Financial specifically, while      Knowingly False Allegation. KK-PB Financial did not
it obtained its mortgage in August 2013, it did not      control the recording of the mortgage, and the delay in
record its mortgage until seven (7) months later, on     recording was cause by Leslie Evans, an indicted
March 28, 2014, which created the façade that the        member of the fraud.
real property was unencumbered by such debt and
that the EB-5 Creditors would, indeed, obtain a first    No “façade” was created. All EB5 Documents disclose
mortgage on the real property that fully secured their   existence of loan in the amount of $29.5 million that was
investment once a purported bank loan was paid off.      in first position.

                                                         Debtor does not allege a single creditor detrimentally
                                                         relied upon the failure to record before investing.




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                ALLEGATIONS

KK-PB Financial also improperly benefited from the      KK-PB Financial received payment from Palm House,
scheme by receiving transfers of the EB-5 Creditors’     LLC in exchange for the sale of the Real Property.
stolen money.                                            Debtor states no grounds why this was an improper
                                                         benefit.

Mr. Straub and KK-PB Financial were aware that          Both were aware.
PHH intended to offer an EB-5 visa program at the
Palm House Hotel, and that they intended to obtain
foreign investors in the project.

Upon information and belief, Mr. Straub and KK-PB       Upon information and belief is not an objective basis for
Financial were informed that the foreign investors       a “bona fide” dispute.
were told that there was a $29,500,000 bank loan and    This allegation contradicts Debtor’s allegation that the
mortgage against the property, and that those funds      mortgage recording delay created a false façade.
were being used to create jobs and continue the
construction.

Upon information and belief, Mr. Straub and KK-PB       Upon information and belief is not an objective basis for
Financial were informed that the foreign investors       a “bona fide” dispute.
were told that their investments would be used to pay
                                                        This allegation contradicts Debtor’s allegation that the
off the $29,500,000 bank loan, at which time they        mortgage recording delay created a false façade.
would receive a first mortgage on the Property.

Upon information and belief, Mr. Straub and KK-PB       Upon information and belief is not an objective basis for
Financial were informed that the foreign investors       a “bona fide” dispute.
would be told that their investments would be fully 
secured by the Property.                                Contradicted by the PPM and other offering documents
                                                         attached to the EB5 Complaint, which say EB5
                                                         investors are limited partners in Palm House Hotel,
                                                         LLC

Upon information and belief, Mr. Straub and KK-PB        Knowingly false allegation. Note now, the use of
Financial intentionally failed to record the Mortgage    “upon information and belief.”
for almost seven (7) months to create the façade to
potential foreign investors that the Property was        No “façade” was created. All EB5 Documents disclose
unencumbered by his mortgage, which was in excess        existence of loan in the amount of $29.5 million that was
of $27,000,000.                                          in first position.

                                                         Debtor does not allege a single creditor detrimentally
                                                         relied upon the failure to record before investing.

Upon information and belief, Mr. Straub and KK-PB       Upon information and belief is not an objective basis for
Financial recorded the Mortgage on March 28, 2014,       a “bona fide” dispute.
only after being informed that most of the EB-5      
Creditors had already performed their due diligence,    Informed by whom? Where is the email or the
signed their documentation, and wired their              testimony to support this?
investments to be used at the Palm House Hotel       
project.                                                Also, knowingly false, as a simple analysis of Exhibit N
                                                         (a spreadsheet showing all monies received from the
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                ALLEGATIONS

                                                         EB5 Creditors) in the EB5 Creditors District Court
                                                         complaint demonstrates.

Mr. Straub and KK-PB Financial conspired with           Knowingly false allegation. No factual basis provided.
and/or enabled the Bad Actors to fraudulently sell the   FBI, SEC, and US Attorney have investigated and
Palm House investment opportunity to the EB-5            brought enforcement actions against Matthew and
Creditors.                                               Evan, but have not found or asserted any wrong doing
                                                         by Straub and KK-PB Financial.


It was never disclosed to the EB-5 Creditors that a     Knowingly false allegation. All the investment
prior mortgage in favor of the prior owner/developer     materials used to solicit the EB5 investments make this
existed on the Property.                                 disclosure. Debtor offers no facts, no documents to
                                                         support this allegation.

Further, Mr. Straub and KK-PB Financial                 Straub and KK-PB Financial sold the Property to Palm
impermissibly benefitted from their conduct by           House, LLC and received payment in exchange for that
collecting payments on the Mortgage from the EB-5        valuable consideration. Debtor provides no objective
Creditors’ funds.                                        evidence to demonstrate why receipt of scheduled
                                                         mortgage payments from Palm House was an
                                                         “impermissible benefit.”

                                                   
The Town fine remained unresolved as of the Petition     Knowingly false allegation. Straub funded the escrow,
Date. In violation of the Escrow Agreement, the          Palm House took the money and failed to take any steps
$744,442 was never paid to Palm House or the             to satisfy the fines. In effect, Palm House stole those
Debtor.                                                  escrowed funds.



                                           LEGAL ARGUMENT
     I.      DEBTORS MOTION TO LIMIT CREDIT BID SHOULD BE DENIED
             A.       Debtor Has Failed To Establish Cause Under 363(k)
             13.      Relying at little beyond gossipy innuendo, the Debtor seeks to limit KK-PB
     Financial’s credit bid. Such a limitation is an extraordinary exception and not a matter of
     routine. Here, the Debtor has not met its burden showing “cause” under Section 363(k) to
     justify such an extraordinary exception.
             14.      It is important to note that this is the accepted baseline: KK-PB Financial has a
     right to credit bid its secured claim at an auction sale unless this Court orders otherwise for
     “cause” pursuant to Bankruptcy Code Section 363(k). In re Aéropostale, Inc., 555 B.R. at 414
     (stating Bankruptcy Code allows a party to credit bid unless court orders otherwise for cause);
     In re RML Developments, Inc., 528 B.R. 150, 155 (Bankr. W.D. Tenn 2014). The Bankruptcy
     Code does not define “cause” to limit a party’s credit bid rights under Section 363(k). In re
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Merit Group, Inc., 464 B.R. 240, 252 (Bankr. S.C. 2011). Instead, it is left to the courts to
determine on a case-by-case basis whether or not there is sufficient cause to deny or modify a
party’s credit bid rights. In re Aéropostale, Inc., 555 B.R. at 414; In re RML Developments, Inc.,
528 B.R. at 155 (stating “what constitute cause is discretionary with the bankruptcy court”).
        15.     At the same time, a bankruptcy court does not have limitless discretion in
determining whether to deny or limit a party’s credit bid rights. In re Aéropostale, Inc., 555 B.R.
at 415 (stating that discretion does not permit a court to act arbitrarily or “freewheeling”). A
court should only modify or deny credit bid rights as an extraordinary exception and not a
matter of routine. In re Aéropostale, Inc., 555 B.R. at 415; In re RML Developments, Inc., 528 B.R.
at 156 (determining “modification or denial of credit bid rights should be the extraordinary
exception and not the norm”).
        16.     While the Debtor asserts a plethora of meaningless allegations in support of its
claims to deny KK-PB Financial’s credit bid rights, nothing the Debtor alleges gives rise to
“cause” permitting this Court to deny or limit KK-PB Financial’s credit rights. In re Merit
Group, Inc., 464 B.R. at 252. The Debtor has not, and is unable, to meet its burden of proof
that some factual grounds exists to show there is an objective basis for a dispute. In re Merit
Group, Inc., 464 B.R. at 252; In re Octagon Roofing, 123 B.R. 583, 590 (Bankr. N.D. Ill. 1991)
(rejecting the argument that merely alleging a dispute is enough). The Debtor must do more
than allege hearsay and innuendo to create a dispute.
        17.     Additionally, the Debtor’s tabloid style allegations are irrelevant to and have
no impact on the estate or the bidding process. In re Aéropostale, Inc., 555 B.R. at 415. The
Debtor alleges scandalous rumors to prejudice this Court into ruling that “cause” exists to
limit or deny KK-PB Financial’s credit bid rights since the Debtor cannot provide any specific
facts or evidentiary support for alleged wrongdoings by KK-PB Financial. In re Aéropostale,
Inc., 555 B.R. at 416 (finding no “inequitable conduct that would justify limiting [or denying] a
credit bid”); In re Merit Group, Inc., 464 B.R. at 256 (finding that lack of evidence by the party
requesting that a credit bid right be denied or conditioned for cause as a weakness in that party’s
position).




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        18.      The Debtor falsely alleges that Straub and KK-PB Financial were parties to the
alleged fraud perpetrated on the EB-5 victims1 as a basis for this Court to determine that cause
exist to limit or deny KK-PB Financial’s credit bid rights. The Debtor has a reckless disregard
for the truth when making such false allegations in light of the mountain evidence to the
contrary available to the Debtor, including the Matthews Federal Indictment and the SEC
Complaint.      While the Matthews Federal Indictment and the SEC Complaint seeking
enforcement against all parties involved in the EB-5 fraud, those documents failed to even
mention Straub or KK-PB Financial, much less name them as co-conspirators.
        19.      The Court should reject the Debtor’s request to limit or deny KK-PB
Financial’s credit bid right since the Debtor has failed to provide a modicum of facts giving rise
to cause for the relief it seeks, much less any evidence to support its baseless allegations.
Denying KK-PB Financial’s rights is an extraordinary exercise of this Court’s discretionary
powers that must not be undertaken on the basis of unsubstantiated allegations. In re
Aéropostale, Inc., 555 B.R. at 415 (stating “modification or denial of credit bid rights should be
the extraordinary exception and not the norm”).
        20.      Moreover, Debtor appears to be advocating that the Court should prohibit KK-
PB Financial from credit bidding because such credit bidding, in and of itself, would chill the
bidding. The “in and of itself” argument, however, does not support cause under 363(k).
        21.      The “in and of itself” reading of “cause” in Section 363(k) purports to
authorize limiting credit-bidding rights even in the absence of lien defects, claim allowance
issues, procedural defaults, and inequitable conduct. Instead, its based solely upon the
supposed inevitable effect that the exercise of a credit bidding right will have on bidding, in
particular where the secured claim at first glance exceeds the cash value of the collateral. But
there is no support for finding cause on such grounds.
        22.      In Aéropostale, the bankruptcy court ruled that Sycamore Partners and its
affiliates (“Sycamore”) could credit bid up to the full amount of its $150 million pre-petition
secured loan at a Section 363 Sale of the assets of debtor Aéropostale, Inc. and its affiliates (the
“Aéropostale Debtors”).



1
 Notwithstanding what the Debtors would have this Court believe, the EB-5 victims are not creditors of the
Debtor's bankruptcy estate.
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         23.      The Aéropostale Debtors, relying on several of the same bankruptcy court
decisions relied upon by the Debtor here, argued that Sycamore should not be permitted to
credit bid its loan because (i) permitting Sycamore to credit bid would chill other bidders from
participating in the bidding process and (ii) Sycamore’s debt should be equitably subordinated
because its bad acts had pushed the Aéropostale Debtors into bankruptcy. The court overruled
both claims and permitted Sycamore to credit bid up to the full amount of its loan to the
Aéropostale Debtors.
         24.      The Court should likewise reject the Debtor’s “in and of itself” argument here.
In fact, KK-PB Financial would argue that failing to allow it to credit bid will depress the
bidding and the ultimate sales price. As Debtor proudly noted in open court, its stalking horse
is a Related fund, a multibillion dollar developer that is certain to have the wherewithal to close.
But its offer to purchase the property is for $32 million, well below the KK-PB Financial’s claim
and certainly well below the total secured claims in the estate. The involvement of Related
alone could discourage other bidders from participating in the auction. By excluding KK-PB
Financial’s ability to credit bid, the stalking horse would avoid competitive bidding entirely and
take the Property for an undervalued price.
         25.      There is only one party certain to bid against Related and any other bidders –
KK-PB Financial. Its involvement as a credit bidder would ensure that a fair price for the
property is achieved.


B.       The Debtor Fails to Provide a Basis for the Equitable Subordination of KK-PB
         Financial, LLC’s Secured Claim


         26.      The Debtor also appears to be claiming it will assert some form of equitable
subordination claim2 against KK-PB Financial. As noted, the Debtor must provide objective
factual and legal grounds demonstrating that there is a bona fide dispute. But the Debtors
tabloid pleadings do not show grounds for a bona fide dispute on equitable subordination.




2
 Other than to keep secured creditors in the dark, it is not clear why the Debtor has failed to bring such an
equitable subordination claim in the nearly three months this sale case has been pending. KK-PB Financial of
course reserves its right to address directly any equitable subordination claim, if and when actually asserted
by the Debtor.
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        27.     Certainly, Bankruptcy Code Section 510(c) gives this Court the power to
subordinate all or part of KK-PB Financial’s secured claim if Debtor can meet the “principles
of equitable subordination:”


               (c) Notwithstanding subsections (a) and (b) of this section, after notice
                       and a hearing, the court may —
               (1) under principles of equitable subordination, subordinate for purposes
                       of distribution all or part of an allowed claim to all or part of
                       another allowed claim or all or part of an allowed interest to all
                       or part of another allowed interest; or
               (2) order that any lien securing such a subordinated claim be transferred
                       to the estate.

11 U.S.C. 510(c).
        28.     Those referenced “equitable subordination principles” permit a bankruptcy
court to exercise its powers of equitable subordination only when the following three elements
are established: (i) the respondent must have engaged in some type of inequitable conduct; (ii)
the misconduct must have resulted in injury to the creditors or conferred an unfair advantage
on the claimant; and (iii) subordination of the claim must not be inconsistent with the
provisions of the Bankruptcy Code. See In re Mobile Steel Company, 563 F.2d 692, 700 (5th Cir.
1977); In re Holywell Corporation, 913 F.2d 873, 880 (11th Cir. 1990); In re Rich Capitol, LLC,
436 B.R. 224, 232 (Bankr. S.D. Fla. 2010). The Debtor, in seeking equitable subordination,
bears the burden of proof for subordinating a claim since a proof of claim is presumed valid. In
re Aéropostale, Inc., 555 B.R. 369, 397-98 (Bankr. S.D.N.Y. 2016).
        29.     Further, the Debtor must meet its burden on three additional principles to
prove equitable subordination. In re Aéropostale, Inc., 555 B.R. at 397 (citing In re Mobile Steel
Company, 563 F.2d at 700). First, the Debtor must demonstrate that the inequitable conduct
directed against the bankrupt or its creditors may be sufficient to warrant subordination of a
claim irrespective of whether it was related to the acquisition or assertion of that claim. In re
Mobile Steel Company, 563 F.2d at 700; In re Aéropostale, Inc., 555 B.R. at 397. Second, the
Debtor must demonstrate the extent to which the claim must be subordinated, as “a claim or
claims should be subordinated only to the extent necessary to offset the harm which the
bankrupt or its creditors suffered on account of the inequitable conduct.” In re Mobile Steel
Company, 563 F.2d at 700; In re Aéropostale, Inc., 555 B.R. at 397. Third, with respect to the
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burden of proof, the Debtor must deliver a real factual basis, because “an objection resting on
equitable grounds cannot be merely formal, but rather must contain some substantial factual
basis to support its allegation of impropriety.’” In re Aéropostale, Inc., 555 B.R. at 397 (quoting
In re Mobile Steel Company, 563 F.2d at 700); In re Rich Capitol, LLC, 436 B.R. at 232 (since
creditor “is neither an insider of the Debtor nor a fiduciary of the Debtor, the Debtor must
prove with peculiarity that” a creditor engaged in misconduct to allow equitable
subordination).
        30.       The Debtor must allege more than “labels and conclusions,” or simply recite
the elements of a cause of action. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). The
Court should deny the relief the Debtor seeks if it does not plead enough facts to state a claim
to relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly,
550 U.S. at 570; See also Reese v. JPMorgan Chase & Co., 686 F. Supp. 2d 1291, 1298 (S.D. Fla.
2009)). A claim has facial plausibility when the Debtor pleads factual content that allows the
Court to draw the reasonable inference that KK-PB Financial is liable for the misconduct
alleged. Twombly, 550 U.S. at 556. The plausibility standard is not akin to a “probability
requirement,” but it asks for more than a sheer possibility that KK-PB Financial has acted
unlawfully. Id.
        31.       Considering the above factors, the Court must conclude that the Debtor has
simply failed to demonstrate that a bona fide dispute exists as to its equitable subordination
claims, much less set forth sufficient facts that would ultimately prove it. Debtor’s allegations
amount to this: Straub and KK-PB Financial sold the property at 160 Royal Palm Way to Palm
House and took back a mortgage. But they failed to record that mortgage for seven months.
Those allegations alone are insufficient to support equitable subordination. When considering
the first prong, it is clear that the Debtor has failed to allege any inequitable conduct by KK-PB
Financial that reaches “the requisite egregious conduct tantamount to fraud, overreaching, or
spoliation.” In re Rich Capitol, LLC, 436 B.R. at 233. The Debtor fails to provide any facts,
much less offer any objective proof, to support the allegations of KK-PB Financial’s purported
misconduct. In re Aéropostale, Inc., 555 B.R. at 398 (proponent of equitable subordination bears
the burden of proof regarding the alleged misconduct); see also In re Rich Capitol, LLC, 436 B.R.
at 234 (“The Debtor offers no contradictory evidence.”).


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        32.     Furthermore, the Debtor then makes up this deficit in substantive, relevant
facts by dumping a truckload of tabloid fodder that might support newspaper sales in the
checkout aisle, but here amount to irrelevant tripe. But the Debtor must take this fling-it-and-
see-if-it-sticks approach because no factual evidence of KK-PB Financial’s “misdeeds” exists.
In fact, after investigations by the FBI, the SEC, and the US Attorney, neither KK-PB Financial
nor Straub were even mentioned in the Matthews Federal Indictment or in the SEC’s
complaint.3 The EB5 Creditors District Court case has been pending for two years and the KK-
PB Financial’s foreclosure case has been pending for four years, and not a drop of evidence has
been discovered showing any inequitable conduct by KK-PB Financial or Straub.
        33.     As to the second prong, the Debtor again fails to allege any facts as to how KK-
PB Financial’s purported conduct caused any injury to the Debtor or its creditors or resulted
in an unfair advantage to KK-PB Financial. In re Aéropostale, Inc., 555 B.R. at 398 (stating
“claimant’s conduct must cause injury ‘to the debtor or its creditors or result[] in unfair
advantage to claimant.’”). Even assuming the Debtor’s allegations are true, which they are not,
the Debtor has failed to allege, much less prove, how KK-PB Financial’s purported conduct
had any adverse impact on the Debtor or its creditors. In re Rich Capitol, LLC, 436 B.R. at 232.
All that the Debtor has alleged is that Straub and KK-PB Financial sold the 160 Royal Palm
Way property, took back a mortgage, then fought for four years to foreclose it.
        34.     Lastly, the Debtor seeks to equitably subordinate KK-BB’s claim to the claims
of other creditors as well as non-creditors (the EB-5 victims). Clearly, the Debtor’s attempt to
seek an equitable subordination of KK-PB Financial’s claim is not an attempt to remedy
purported misconduct but, is instead, an attempt to punish KK-PB Financial for imaginary
wrongdoings. In re Mobile Steel Company, 563 F.2d at 701 (stating that the “equitable relief is
remedial rather than penal”); In re Aéropostale, Inc., 555 B.R. at 399 (stating “codification of
the doctrine in Section 510(c) limits the attention due this third factor” but that the remedy of
equitable subordination was not be punitive as opposed to remedial). The Court in In re Mobile
Steel Company stated “that a claim or claims should be subordinated only to the extent
necessary to offset the harm which the bankrupt and its creditors suffered on account of the
inequitable conduct.” In re Mobile Steel Company, 563 F.2d at 701. Here, there was no harm to

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 If even a fraction of the alleged misdeeds the Debtor imputes upon KK-PB Financial were true, KK-PB
Financial would have been named in the Matthews Federal Indictment, as well as the SEC complaint.
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the Debtor or its creditors that needs to be remedied by any of the actions the Debtor alleges of
KK-PB Financial.
          35.    For all the reasons above, the Debtors demand that KK-PB Financial’s claim
be equitably subordinated to the claims of other creditors must fail.


C.        Debtor has the burden of demonstrating a Bona fide dispute under 363(f)(4)
          36.    Debtor also appears to be asserting a challenge to KK-PB Financial’s mortgage
pursuant to Section 363(f)(4). Although this case has been pending for over two months, the
Debtor has not actually filed an adversary proceeding setting forth the basis for its claim, so
KK-PB Financial is not truly on notice nor aware of the details of the threatened claims.
Nonetheless, the Debtor cannot sell the Property unless it meets the requirements of Section
363(f).
          37.    Here, the Debtor has failed to obtain a sales price greater than the secured
claims of KK-PB Financial and other secured lenders have against the Property. Moreover,
Debtor has never sought, much less obtained, KK-PB Financial’s consent, apparently
preferring innuendo-laden sniping and the full-on risk of litigation under 363(f)(4). Under that
Section, the Debtor carries the burden of proving that KK-PB Financial’s secured claim is in
“bona fide dispute.”
          38.    While the “bona fide dispute” is not defined in the Bankruptcy Code, there is
ample caselaw that has fleshed out what the phrase requires, particularly given its use in both
Sections 363(f)(4) and 303(b). See In re Octagon Roofing, 123 B.R. 583, 590 (Bankr.N.D.Ill.1991);
In re Taylor, 198 B.R. 142, 162 (Bankr.D.S.C.1996); In re Collins, 180 B.R. 447, 452
(Bankr.E.D.Va.1995). Courts interpreting Section 363(f)(4) have consistently held that for a
bona fide dispute to exist the court must determine “whether there is an objective basis for
either a factual or legal dispute as to the validity of the debt.” In re Octagon Roofing, 123 B.R. at
590 (emphasis added); In re Bedford Square Associates, 247 B.R. 140, 145 (Bankr.E.D.Pa.2000)
(although the debtor had not commenced a strong-arm proceeding to avoid a provision from a
shopping mall lease, the fact that it could was sufficient to establish a “bona fide dispute”); In
re Olympia Holding Corp., 129 B.R. 679, 681 (Bankr.M.D.Fla.1991); Collins, 180 B.R. at 452
(there must be “an objective basis for either a factual or legal dispute as to the validity of the
debt”); Taylor, 198 B.R. at 162.
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        39.      Additionally, courts interpreting the term “bona fide dispute” as it applies to
Section 303(b) have consistently held that a “bona fide dispute” exists when “there is an
objective basis for either a factual or a legal dispute as to the validity of debt.” In re Busick, 831
F.2d 745, 750 (7th Cir.1987). See also In re Atlas Machine & Iron Works v. Bethlehem Steel, 986
F.2d 709 (4th Cir.1993) (bona fide dispute exists where there is a meritorious existing conflict
as to creditor's right to payment); Atwood, 124 B.R. at 407 (bona fide dispute exists if “there is
either a genuine issue of material fact that bears upon the debtor's liability, or a meritorious
contention as to the application of law to undisputed facts.”); In re Leach, 92 B.R. 483, 487
(Bankr.D.Kan.1988)       (same);    In    re   Ramm     Industries,   Inc.,   83   B.R.   815,    823
(Bankr.M.D.Fla.1988) (same).
        40.      At a minimum, the Debtor must articulate in a pleading or in an argument an
objective basis sufficient under the facts and circumstances of this case for the Court to
determine that a bona fide dispute exists. In re Robotic Vision Sys., Inc., 322 B.R. at 506.
        41.      This Court has also lent its voice to the interpretation of “bona fide dispute”
in its In re International Oil Trading Company, LLC, 545 B.R. 336 (2016), decision. There, the
Court noted that the petition creditor must present a prima facie case to meet its burden of proof
that there is no “bona fide dispute” as to its claim. Applying the Court’s reasoning here, the
Debtor here carries the burden of proof of demonstrating its prima facie case disputing KK-PB
Financial’s secured claim.
        42.      From the Latin for “first sight,” a prima facie case is the establishment of a
legally required rebuttable presumption. A prima facie case is a cause of action or defense that
is sufficiently established by a party's evidence to justify a verdict in his or her favor, provided
such evidence is not rebutted by the other party. PRIMA FACIE CASE, Black's Law
Dictionary (10th ed. 2014).
        43.      Here, the Debtor has yet to clearly articulate the grounds upon which it
disputes KK-PB Financial’s secured claim, but it appears to be asserting in part that KK-PB
Financial’s mortgage can be avoided as a fraudulent transfer because title to the real property
was transferred by assignment of the membership interest in the Debtor, rather than by deed.
The Debtor’s entire fraudulent transfer claim hangs on this sole element of the transaction.
This, it argues, converted the sale of real estate into a Milkenesque LBO, clearly designed to
loot the value of 160 Royal Palm and cheat creditors.
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        44.      But transactions like these – where ‘transfer of ownership’ is accomplished by
conveying a present interest in property, including the beneficial use of the property, the value
of which is substantially equal to the value of the fee interest itself – have long been recognized
as real estate transfers.
        45.      For example, Fla. Stat. Section 201.0201, which governs the application of
document excise taxes, has long recognized such transactions: “It is the Legislature’s intent by
this act to impose the documentary stamp tax when the beneficial ownership of real property is
transferred to a new owner or owners by the use of techniques that apply the Supreme Court’s
decision in Crescent in combination with transfers of ownership of, or distributions from,
artificial entities.”
        46.      In fact, the statute covers real estate transferred for consideration to a
“purchaser.” In Florida Department of Revenue v. De Maria, 338 So.2d 838 (Fla.1976), the
Florida Supreme Court defined “purchaser” under the statute as “one who obtains or acquires
property by paying an equivalent in money or other exchange in value,” recognizing that many
property transfers do not simply involve the execution of a deed. Id. at 840. And see Kuro, Inc.
v. State, Dept. of Revenue, 713 So.2d 1021 (1998) (transfers of property were found to be “mere
book transactions and, otherwise, were not sales to a purchaser, as contemplated by
§201.02(1).”).
        47.      Ultimately, in analyzing any fraudulent transfer claim, the Court must collapse
these components that constitute the disputed sale transaction and focus on the context and
net effect of the transaction. In equity, “substance will not give way to form, [and] technical
considerations will not prevent substantial justice from being done.” Pepper v. Litton, 308 U.S.
295, 305, 60 S.Ct. 238, 244, 84 L.Ed. 281 (1939); see also Dean v. Davis, 242 U.S. 438, 443, 37
S.Ct. 130, 131, 61 L.Ed. 419 (1917); Warren v. Union Bank of Rochester, 157 N.Y. 259, 270-71, 51
N.E. 1036, 1039 (1898). Thus, an allegedly fraudulent transfer must be evaluated in context.
Pereira v. Checkmate Communications Co. (In re Checkmate Stereo & Elec., Ltd.), 9 B.R. 585, 612
(Bankr.E.D.N.Y.1981) (quoting Buffum v. Peter Barceloux Co., 289 U.S. 227, 232, 53 S.Ct. 539,
541, 77 L.Ed. 1140 (1933)), aff'd, 21 B.R. 402 (E.D.N.Y.1982); accord Yoder v. T.E.L. Leasing,
Inc. (In re Suburban Motor Freight, Inc.), 124 B.R. 984, 998 (Bankr.S.D.Ohio 1990).
        48.      When analyzing the net effect of the transaction here, the Court must inevitably
conclude that this transaction was nothing more than the seller-financed sale of real estate, with
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ownership of the land effectuated by the transfer of a membership interest rather than a deed.
That so, the Debtor’s fraudulent transfer action must fail.
D.      Debtor has Failed to Establish A Prima Facie Case to Overcome The Statute of
        Limitation Barring any Fraudulent Transfer Action

        49.      To establish its prima facie case for fraudulent transfer, the Debtor must prove
that its claim is timely because this transfer occurred in August 2013 – or at the latest March
2014 when buyer’s counsel finally recorded KK-PB Financial’s mortgage. In either case, any
as yet unfiled complaint to void the mortgage as a fraudulent transfer falls outside even
Florida’s four-year statute of limitations and is barred.
        50.      Debtor attempts to slip its way out of this pickle by manipulating its schedules
and fabricating an IRS claim to support its asserting the IRS’s 10-year look back under Section
544(b).4 Nonetheless, Debtor must still demonstrate that there is actually an IRS claim in this
case.
        51.      Debtor’s initial schedules show “$0.00” liability to the IRS, who is listed “For
Notice Purposes” [ECF. No. 1]. This would make sense, considering that the Debtor was a
non-operating entity and thus would not have earned any income.
        52.      But on October 9, 2018, the Debtor amended its schedules to suddenly show
an allowed, liquidated, and undisputed IRS claim of $2,586,813.30 [ECF. No. 107]. This is a
shocking change that has the effect of diluting and diminishing claims for all creditors. It must
follow, then, that there is a bedrock-solid ground for the Debtor to schedule under oath this tax
claim as allowed, liquidated, and undisputed.
        53.      Point of fact – there isn’t. On October 12, 2018, KK-PB Financial’s counsel
wrote Debtor’s counsel asking for any documents supporting this sudden schedule change. A
true and correct copy of Counsel’s letter is attached to the Salazar Declaration as Exhibit A.
        54.      Debtor’s counsel’s response: “What documents?” See Response Email
attached to the Salazar Declaration as Exhibit B.
        55.      This exchange lead to a troubling phone call where Debtor’s counsel advised
that the Debtor relied upon two documents to establish that the IRS has an allowed, liquidated,
and undisputed claim, to wit, the Superseding Indictment against Robert Matthews, Leslie

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 KK-PB Financial maintains that the 10-year lookback period for avoidance action should not apply in this
case. See Wagner v. Ultima Holmes, Inc. (In re Vaughan Co.), 498 B.R. 297 (Bankr.D.N.M.2013).
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Evans, and Maria Matthews, Case No. 3:18-CR-48 (D. Conn), and a Notice of Federal Tax Lien
against Robert Matthews and property he owns in Nantucket, Massachusetts. True and correct
copies of the Superseding Indictment and the Notice of Federal Tax Lien are attached to the
Salazar Declaration as Exhibit C and Exhibit D, respectively.
          56.   How these documents could support the Debtor’s listing of a $2,586,813.30
IRS claim as allowed, liquidated, and undisputed is a mystery. If the Debtor is relying on the
IRS statute of limitations to assert a timely, prima facie claim for fraudulent transfer, it should
be able to show its prima facie case for allowing a $2,586,813.30 IRS claim as liquidated and
undisputed, or at all for that matter.
          57.   Similarly, the Debtor has failed to present any objective evidence or establish a
prima facie case that the imposition of the mortgage as part of the Seller financing rendered the
Debtor insolvent. Given there was nearly a cash component of nearly 20% of the overall
purchase price, it would appear that would be impossible for Debtor to present such evidence
at all.

          WHEREFORE, KK-PB Financial, LLC respectfully requests that the Court enter an
Order (i) denying the Motion to Limit Credit Bid; and (ii) granting such further relief as the
Court deems equitable.

 Dated: October 17, 2018                   Respectfully submitted,

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                                           By:        /s/ Luis Salazar
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this day, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all parties identified on the Service List attached to the original hereof via
transmission of Notices of Electronic Filing generated by CM/ECF and/or electronic mail
transmission as indicated thereon.



                                                By:      /s/ Luis Salazar
                                                        Luis Salazar




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